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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
              v.                              )
                                              )
RICHARD W. GATES III,                         )           Crim. No. 17-201-2 (ABJ)
                                              )
              Defendant.                      )

                                          ORDER

       Upon consideration of Defendant Richard W. Gates III’s Motion to Modify Release

Conditions for Limited Purposes to Attend School Sponsored Student-Parent Work Event, Youth

Coaching Event, and Update on Status of Bail Package Discussions with the United States and

finding good cause shown, it is this ___ day of December, 2017, hereby

       ORDERED, that the motion is GRANTED.




                                           _______________________________________
                                           AMY BERMAN JACKSON
                                           UNITED STATES DISTRICT JUDGE
